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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 GLORIA E. ORTIZ-COTTO
 Plaintiff                                  CIVIL 14-1643CCC
 vs
 THE COMMONWEALTH OF PUERTO
 RICO; DEPARTMENT OF
 EDUCATION, through its Secretary
 Rafael Román-Meléndez; JOHN DOE;
 XYZ INSURANCE COMPANY
 Defendants


                                 JUDGMENT

      Having considered the Motion Requesting Voluntary Dismissal Without
Prejudice filed by plaintiff Gloria Ortiz-Cotto on June 28, 2015 (D.E. 16), which
is NOTED, it is ORDERED and ADJUDGED that judgment be and is hereby
entered DISMISSING this action, without prejudice, and without the imposition
of costs or attorney’s fees. All pending motions (D.E. 6, D.E. 9, D.E. 12,
D.E. 14 and D.E. 15) are rendered MOOT.
      The pretrial/settlement conference scheduled for September 8, 2015 and
the jury trial scheduled for March 2, 2016 are, therefore, VACATED.
      SO ORDERED AND ADJUDGED.
      At San Juan, Puerto Rico, on June 30, 2015.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
